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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
United States of America,

      Plaintiff,
v.                                                   MEMORANDUM OPINION
                                                           AND ORDER
                                                     Crim. No. 10-187 (02) (MJD)
Hawo Mohamed Hassan,

      Defendant.
___________________________________________________________________________________

      Jeffrey S. Paulsen, Assistant United States Attorney, Counsel for Plaintiff.

      Kathy Manley, Counsel for Defendant.
______________________________________________________________________

      This matter is before the Court on Defendant’s Motion for Compassionate

Release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). (Doc. No. 312.)

I.    Background

      On October 20, 2011, a jury found Defendant guilty of Conspiracy to

Provide Material Support to a Foreign Terrorist Organization and two count of

making a False Statement to the FBI. On May 29, 2013, Defendant was

sentenced to a term of imprisonment of one hundred-twenty (120) months,

followed by three (3) years of supervised release.




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      Defendant is scheduled to be released from custody of the Bureau of

Prisons (“BOP”) on November 19, 2021 and has been recommended for

placement in an RRC on January 19, 2021. (Doc. No. 313-4.)


      Defendant now moves the Court for an Order granting her compassionate

release.


II.   Motion to Reduce Sentence

      Pursuant to 18 U.S.C. § 3582(c)(1)(A), the court may, upon a defendant’s

motion following exhaustion of administrative remedies or the lapse of 30 days

from the receipt of such a request by the warden of the defendant’s facility,

whichever is earlier, “reduce the term of imprisonment (and may impose a term

of probation or supervised release with or without conditions that does not

exceed the unserved portion of the original term of imprisonment), after

considering the factors set forth in section 3553(a) to the extent that they are

applicable, if it finds that-- (i) extraordinary and compelling reasons warrant

such a reduction . . . and that such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission.”




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      The United States Sentencing Guidelines define in pertinent part

“extraordinary and compelling reasons” due to medical condition of the

defendant as:


      (ii) The defendant is—

             (I) suffering from a serious physical or medical condition,

             (II) suffering from a serious functional or cognitive
             impairment, or

             (III) experiencing deteriorating physical or mental health
             because of the aging process,

      that substantially diminishes the ability of the defendant to provide
      self-care within the environment of a correctional facility and from
      which he or she is not expected to recover.

U.S.S.G. § 1B1.13, cmt. 1(A).


      There is no dispute that Defendant has exhausted her administrative

remedies. Accordingly, the Court will proceed to the merits of Defendant’s

motion.


      Defendant asserts that her age and medical conditions make her

highly vulnerable to serious illness or death should she contract COVID-

19. Defendant is 73 years old and suffers from the following chronic

medical conditions: Hypertension, hyperlipidemia, osteoarthritis, PTSD,

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thyroid disorder, and possibly pre-diabetes 1. Defendant argues these

medical conditions are recognized risk factors that increase her risk of life-

threatening consequences if she is infected with COVID-19.

       The Court has reviewed the recent medical records from the BOP

and finds that Defendant’s age and medical conditions do place her in a

high risk category that warrants relief.

       Further, the Court finds that early release from custody is supported

by the factors set forth in 18 U.S.C. § 3553(a). Defendant has served nearly

all of her sentence, and the BOP has recommended she be released to an

RRC in January 2021. In addition, at 73 years old, Defendant is unlikely

she will reoffend. See United States v. Tucker, 356 F. Supp.3d 808, 810

(S.D. Iowa 2019) (citing U.S. Sentencing Comm'n, The Effects of Aging on

Recidivism Among Federal Offenders at 22 (2017),

https://www.ussc.gov/research/research-reports/effects-aging-recidivism-

among-federal-offenders).

       Accordingly,


       IT IS HEREBY ORDERED:


1
 The government argues that Defendant’s medical records do not support a finding that she has
diabetes or pre-diabetes. (Gov’t Ex. 3.)

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1. Defendant’s Motion for Compassionate Release (Doc No. 312) is

   GRANTED;

2. Defendant’s Sentence is reduced to TIME SERVED;

3. Defendant’s release residence and release plan have been reviewed and

   approved by the U.S. Probation Office therefore this order is stayed for

   up to fourteen days to make appropriate travel arrangements and to

   ensure Defendant’s safe release. Defendant shall be released as soon as

   appropriate travel arrangements are made and it is safe for Defendant

   to travel. There shall be no delay in ensuring travel arranges are made.

   If more than fourteen days are needed to make appropriate travel

   arrangements and ensure Defendant’s safe release, then the parties

   shall immediately notify the Court and show cause why the stay should

   be extended; and

4. In addition to the conditions of supervised release previously imposed,

   the Court orders the following additional conditions:

      a. Defendant shall not possess or use a computer or have access to
         any on-line service without the prior approval of the U.S.
         Probation and Pretrial Services Office. Defendant’s cooperation
         shall include but not be limited to allowing installation of a
         computer and Internet monitoring program and/or identifying
         computer systems, Internet-capable devices, and similar memory


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                and electronic devices to which Defendant has access.
                Monitoring may include random examinations of computer
                systems along with Internet, electronic and media storage devices
                under Defendant’s control. The computer system or devices may
                be removed for a more thorough examination, if necessary.
                Defendant shall contribute to the cost of such monitoring
                services, based on Defendant’s ability to pay, as deemed
                appropriate by the U.S. Probation Office and Pretrial Services
                Office.
           b.   Defendant shall provide the probation officer access to any
                requested financial information, including credit reports, credit
                card bills, bank statements, and telephone bills.
           c.   Defendant shall not possess, view, access or otherwise use
                material that reflects extremist or terroristic views or as deemed
                to be inappropriate by the U.S. Probation Office.
           d.   Defendant shall participate in a mental health counseling
                program as approved by the probation officer. This program
                may include psychological/psychiatric counseling or treatment,
                family counseling, and mentor support.
           e.   Defendant shall submit to periodic polygraph testing at the
                direction of the probation officer as a means to ensure
                compliance with the requirements of supervision.

Date: September 10, 2020

                                            s/ Michael J. Davis
                                            Michael J. Davis
                                            United States District Court




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